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AO 93C () :DUUDQWE\ 7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
            (Briefly describe the property to be searched                   )
             or identify the person by name and address)                    )      Case No. 22-988M(NJ)
   The Cellular Telephone Assigned Call Number 414-629-4401,                )
     whose service provider is T-Mobile, a wireless telephone
   service provider headquartered at 4 Sylvan Way, Parsippany,
                                                                            )
                              New Jersey                                    )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                   District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B




        YOU ARE COMMANDED to execute this warrant on or before                September 13, 2022       (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    Honorable Nancy Joseph                   .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for                                 ✔ until, the facts justifying,
                   days (not to exceed 30) u                           g, thee llater
                                                                                 a er specific date of
                                                                                 at                            02/25/2023              .


Date and time issued:          08/30/2022 9:48 am
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                                                                                                                    signature
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City and state: Milwaukee, WI                                                         Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
                          Case 2:22-mj-00988-NJ                    Filed 08/30/22     Page 1 of 64          Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 22-988M(NJ)
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                          Case 2:22-mj-00988-NJ                     Filed 08/30/22       Page 2 of 64        Document 1
                                 ATTACHMENT A

                              Property to Be Searched

      129.   Records and information associated with the cellular device assigned

call number (414) 629-4401 (referred to herein and in Attachment B as “T
                                                                       Target Cell

Phone #1”), with listed subscriber of Geno Nottolinis Pizza, LLC, 1101 S. 26th Street,

Milwaukee, Wisconsin, that is in the custody or control of T-Mobile, (referred to

herein and in Attachment B as the “Provider”), a wireless telephone service provider

headquartered at 4 Sylvan Way, Parsippany, New Jersey 07054.

       1.     Target Cell Phone #1.




                                          

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                                       ATTACHMENT B

                                Particular Things to be Seized

I.    Information to be Disclosed by the Provider

      To the extent that the information described in Attachment A is within the

possession, custody, or control of the Provider, including any information that has

been deleted but is still available to the Provider or that has been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), the Provider is required to

disclose to the government the following information pertaining to the Account

listed in Attachment A:

      a.          The following subscriber and historical information about the

                  customers or subscribers associated with Target Cell Phone #1 for the

                  time period January 1, to the present:

             i.         Names (including subscriber names, user names, and screen

                        names);

            ii.         Addresses (including mailing addresses, residential addresses,

                        business addresses, and e-mail addresses);

           iii.         Local and long-distance telephone connection records;

           iv.          Records of session times and durations, and the temporarily

                        assigned network addresses (such as Internet Protocol (“IP”)

                        addresses) associated with those sessions;




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                                                      Page 4 of 64   Document 1
   v.       Length of service (including start date) and types of service

            utilized;

  vi.       Telephone or instrument numbers (including MAC addresses,

            Electronic Serial Numbers (“ESN”), Mobile Electronic Identity

            Numbers (“MEIN”), Mobile Equipment Identifier (“MEID”);

            Mobile Identification Number (“MIN”), Subscriber Identity

            Modules (“SIM”), Mobile Subscriber Integrated Services Digital

            Network Number (“MSISDN”); International Mobile Subscriber

            Identity Identifiers (“IMSI”), or International Mobile Equipment

            Identities (“IMEI”);

  vii.      Other subscriber numbers or identities (including the

            registration Internet Protocol (“IP”) address); and

 viii.      Means and source of payment for such service (including any

            credit card or bank account number) and billing records; and

  ix.       All records and other information (not including the contents of

            communications) relating to wire and electronic communications

            sent or received by Target Cell Phone #1 for the time period

            January 1, 2020, to the present including:

         a. the date and time of the communication, the method of the

            communication, and the source and destination of the

            communication (such as the source and destination telephone




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                  numbers (call detail records), email addresses, and IP

                  addresses); and

               b. information regarding the cell tower and antenna face (also

                  known as “sectors” through which the communications were sent

                  and received), as well as per-call measurement data (also known

                  as “real-time tool” or “RTT”).

b.          Information associated with each communication to and from Target

            Cell Phone #1 for a period of 30 days from the date of this warrant,

            including:

       i.         Any unique identifiers associated with the cellular device,

                  including ESN, MEIN, MSISDN, IMSI, SIM, or MIN;

      ii.         Source and destination telephone numbers;

     iii.         Date, time, and duration of communication; and

     iv.          All data about the cell towers (i.e., antenna towers covering

                  specific geographic areas) and sectors (i.e., faces of the towers) to

                  which Target Cell Phone #1 will connect at the beginning and

                  end of each communication, as well as per-call measurement

                  data (also known as “real-time tool” or “RTT”).

c.          Information about the location of Target Cell Phone #1 for a period of

            30 days during all times of day and night. “Information about the

            location of the Subject Phone” includes all available E-911 Phase II




                                         

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                data, RTT data, GPS data, latitude-longitude data, and other precise

                location information.

           i.         To the extent that the information described in the previous

                      paragraph (hereinafter, “Location Information”) is within the

                      possession, custody, or control of the Provider, the Provider is

                      required to disclose the Location Information to the government.

                      In addition, the Provider must furnish the government all

                      information, facilities, and technical assistance necessary to

                      accomplish the collection of the Location Information

                      unobtrusively and with a minimum of interference with the

                      Provider’s services, including by initiating a signal to determine

                      the location of Target Cell Phone #1 on the Provider’s network or

                      with such other reference points as may be reasonably available,

                      and at such intervals and times directed by the government.

                      The government shall compensate the Provider for reasonable

                      expenses incurred in furnishing such facilities or assistance.

          ii.         This warrant does not authorize the seizure of any tangible

                      property. In approving this warrant, the Court finds reasonable

                      necessity for the seizure of the Location Information. See 18

                      U.S.C. § 3103a(b)(2).

II.   Information to be Seized by the Government




                                              

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      All information described above in Section I that constitutes evidence of

violations of Title 21, United States Code, Sections 841(a)(1) and 846; and Title 18,

United States Code, Sections 1956 and 1957, involving Francisco HERNANDEZ

BACA.

      Law enforcement personnel (who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney support staff, agency

personnel assisting the government in this investigation, and outside technical

experts under government control) are authorized to review the records produced by

the Provider in order to locate the things particularly described in this Warrant.




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                   Case 2:22-mj-00988-NJ                       Filed 08/30/22                Page 9 of 64        Document 1
                         AFFIDAVIT IN SUPPORT OF A
                             SEARCH WARRANT

I.    INTRODUCTION

      I, Jeffrey Hale, being duly sworn, do depose and state as follows:

      1.     I make this affidavit in support of an application for a search warrant

under Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A) for the

continued information about the location of the cellular telephone assigned call

number (414) 629-4401 (“Target Cell Phone #1”), whose service provider is T-

Mobile, a wireless telephone service provider headquartered at 4 Sylvan Way,

Parsippany, New Jersey. Target Cell Phone #1 is described herein and in

Attachment A, and the location information to be seized is described herein and in

Attachment B.

      2.     Because this warrant seeks the prospective collection of information,

including cell-site location information, that may fall within the statutory

definitions of information collected by a “pen register” and/or “trap and trace

device,” see 18 U.S.C. § 3127(3) & (4), the requested warrant is designed to also

comply with the Pen Register Act. See 18 U.S.C. §§ 3121-3127. The requested

warrant therefore includes all the information required to be included in an order

pursuant to that statute. See 18 U.S.C. § 3123(b)(1).

      3.     I am a state certified law enforcement officer employed as a Special

Agent with the Wisconsin Department of Justice, Division of Criminal Investigation

(DCI) and have been a sworn officer in the State of Wisconsin for approximately 27

years. I am currently assigned to the North Central High Intensity Drug Trafficking

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Area (HIDTA) Opioid Task Force. I am also a federally deputized Task Force Officer

with the United States Department of Justice, Drug Enforcement Administration

(DEA). As such, I am an investigative or law enforcement officer of the United States

within the meaning of Section 2510(7) of Title 18, United States Code, in that I am

empowered by law to conduct investigations of and to make arrests for federal felony

offenses.

      4.     In connection with my official DCI and DEA duties, I investigate

criminal violations of the Federal Controlled Substance laws, including, but not

limited to Title 18, United States Code, Sections 924(c), 1956 and 1957, Title 21,

United States Code, Sections 841, 843, 846, 848, 952, and 963. I have been involved

with various electronic surveillance methods, the debriefing of defendants,

informants, and witnesses, as well as others who have knowledge of the distribution,

transportation, storage, and importation of controlled substances. I have participated

in the execution of multiple federal search warrants.

      5.     I have received training in the area of controlled substances

investigations, money laundering, financial investigations, and various methods that

drug dealers use in an effort to conceal and launder the proceeds of their illicit drug

trafficking enterprises. I have participated in numerous investigations involving

violations of state and federal controlled substances laws. I have participated or

assisted in numerous federal and state search warrants for narcotic related offenses

that have resulted in the seizure of United States currency, vehicles, real estate, and

jewelry from individuals involved in narcotics trafficking.



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      6.     Based on my training, experience and participation in drug trafficking

investigations and associated financial investigation involving controlled

substances, I know and have observed the following:

            a.      I am familiar with the methods used by drug traffickers and drug

organizations to manufacture, smuggle, safeguard, and distribute controlled

substances, and to collect and launder trafficking-derived proceeds;

             b.     I am familiar with the methods employed by drug traffickers to

thwart any investigation of their illegal activities;

            c.      I know large-scale drug traffickers must maintain on-hand, large

amounts of U.S. currency to maintain and finance their ongoing drug business and

that electronic telecommunications are used to conduct drug trafficking;

             d.     I know it is common for persons involved in large-scale drug

trafficking to maintain evidence pertaining to their obtaining, secreting, transfer,

concealment and/or expenditure of drug proceeds, such as currency, financial

instruments, precious metals and gemstones, jewelry, books, records of real estate

transactions, bank statements and records, passbooks, money drafts, letters of credit,

money orders, passbooks, letters of credit, bank drafts, cashier’s checks, bank checks,

safe deposit box keys and money wrappers. These items are maintained by the

traffickers within residences, businesses or other locations, including storage

locations, over which they maintain dominion and control;

             e.     I know it is common for drug traffickers to maintain books,

records, receipts, notes, ledgers, airline tickets, receipts relating to the purchase of



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financial instruments and/or the transfer of funds and other papers relating to the

transportation, ordering, sale and distribution of controlled substances. That the

aforementioned books, records, receipts, notes, ledger, etc., are maintained where the

traffickers have ready access to them;

               f.   It is common practice for individuals who are involved in business

activities of any nature to maintain books and records of such business activities for

lengthy periods of time. It is also common practice for individuals who maintain these

records to keep them in places that are secure but easily accessible such as in their

businesses, offices, storage facilities, or personal residence;

            g.      I am familiar with computers, cellular telephones, pagers and

their uses by drug traffickers to communicate with suppliers, customers, and fellow

traffickers and by those engaged in money laundering activities to communicate with

their associates and financial institutions; That drug traffickers use these devices to

record their transactions and aspects of their lifestyle related to drug dealing,

whether in the form of voicemail, email, text messages, video and audio clips, floppy

disks, hard disk drives, flash drives, CD’s, DVD’s, optical disks, Zip disks, flash

memory cards, Smart media and any data contained within such computers or

cellular telephones, electronic storage media and other settings particular to such

devices; I know that such devices automatically record aspects of such

communications, such as lists of calls and communications, and any particularized

identification assigned to those source numbers or email addresses by the owner of

the devices;



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      7.     The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

      8.     Throughout this affidavit, reference will be made to case agents. Case

agents are those federal, state, and local law enforcement officers who have directly

participated in this investigation, and with whom your affiant has had regular

contact regarding this investigation.

      9.     Based on the facts set forth in this affidavit, there is probable cause to

believe that violations of Title 21, United States Code, Sections 841(a)(1) (distribution

and possession with the intent to distribute controlled substances) and 846

(conspiracy to distribute and possess with the intent to distribute controlled

substances); and Title 18, United States Code, Sections 1956 and 1957 (laundering of

monetary instruments), have been committed, are being committed, and/or will be

committed by Francisco HERNANDEZ BACA (DOB: XX/XX/1982). There is also

probable cause to believe that the location information described in Attachment B

will constitute evidence of these criminal violations and will lead to the identification

of individuals who are engaged in the commission of these offenses.

      10.    The court has jurisdiction to issue the proposed warrant because it is a

“court of competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court




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is a district court of the United States that has jurisdiction over the offense being

investigated, see 18 U.S.C. § 2711(3)(A)(i).

      11.    This investigation was initiated in September of 2018. To date, case

agents have determined that a group of individuals, including, but not limited to

Francisco HERNANDEZ BACA, both known and unknown, are involved in a drug

trafficking organization (DTO) that distributes cocaine in the Eastern District of

Wisconsin.

II.   PROBABLE CAUSE

      A. Background and Summary of Investigation

      12.    In September 2018, members of North Central High Intensity Drug

Trafficking Area (HIDTA) and the Drug Enforcement Administration (DEA) initiated

an investigation into individuals distributing large quantities of cocaine and

marijuana throughout Milwaukee, Wisconsin, and elsewhere. Law enforcement

authorities identified the individual spearheading the DTO in Milwaukee, Wisconsin,

as Louis R. PEREZ III (PEREZ III) (a/k/a “Ocho,” and a/k/a “Eight Ball”). This DTO

obtained marijuana and marijuana related products from Julian SANCHEZ and

Miguel SARABIA, who operated in the Central and Northern Districts of California.

The investigation has further revealed that, upon the sale of controlled substances in

the Milwaukee, Wisconsin, area, DTO members mail drug proceeds using the United

States Postal Service (USPS) to the California-based suppliers.

      13.    The investigation into the PEREZ III DTO evolved into several court

authorized interceptions of four DTO members telephones, as well as a court



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authorized interception of PEREZ III’s Snapchat account throughout the spring,

summer and fall of 2020.

      14.    On September 22, 2020, case agents executed multiple search and arrest

warrants in the Eastern District of Wisconsin, as well as the Central District of

California related to the PEREZ III DTO. Case agents arrested 25 DTO members, 24

of which have subsequently pled guilty to various charges in the Eastern District of

Wisconsin. The one remaining DTO member has entered into a plea agreement with

the government, with one defendant remaining a fugitive.

      15.    The investigation has continued, and The Federal Bureau of Investigation

(FBI) and North Central High Intensity Drug Trafficking Area (HIDTA) are investigating

Francisco HERNANDEZ BACA (DOB: XX/XX/1982), aka “Gallo,” and other

unidentified persons involved in a drug trafficking organization (DTO).           The

investigation to date has included traditional law enforcement methods, including, but

not limited to: interviews with confidential sources and sources of information;

information gathered from other law enforcement officers; documentary evidence; pen

register, trap and trace, and telephone toll data; controlled meetings with targets,

recorded telephone calls with targets, and physical surveillance.

      16.    Through the investigation, case agents have identified a cellular

telephone number used by HERNANDEZ BACA as cellular telephone (414) 629-4401

(Target Cell Phone #1). Case agents subpoenaed Target Cell Phone #1 for

subscriber information. Your affiant’s review of the subpoenaed results reveal that

Target Cell Phone #1 is subscribed to by Geno Nottolinis Pizza, LLC, 1101 S. 26th


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Street, Milwaukee, Wisconsin. Case agents are aware that 1101 S. 26th Street,

Milwaukee, Wisconsin was, and may still be, the personal residence of HERNANDEZ

BACA. As of June 2022, case agents observed a food truck displaying signage,

“Taqueria Los Gallos,” a restaurant owned and operated by HERNANDEZ BACA,

parked in the back of 1101 S. 26th Street. Additionally, according to the Wisconsin

Department of Financial Institutions, the registered agent for Geno Nottolini’s Pizza

Milwaukee LLC is Francisco HERNANDEZ BACA, listing an address of 1800 S. 13th

Street, Milwaukee, Wisconsin. Case agents are aware that HERNANDEZ BACA

owns and operates “Taqueria Los Gallos,” and that it is located at 1800 S. 13th Street,

Milwaukee, Wisconsin.

       17.     On July 28, 2022, United States Magistrate Judge Stephen Dries

authorized a pen register on Target Cell Phone #1. This pen register is set to expire

on September 25, 2022.

       18.     Case agents have analyzed pen register data for Target Cell Phone #1

from January 1, 2022, to August 18, 2022, and the analysis showed that Target Cell

Phone #1 is in contact with several known and suspected high-level narcotics

traffickers.

                          CARNITAS LOS GALLOS, LLC

       19.     On September 17, 2020, United States Magistrate Stephen Dries,

Eastern District of Wisconsin signed a federal arrest warrant for Louis R. PEREZ III

as well as a search warrant for PEREZ III’s residence, 1653 S. 57th Street, West Allis,

Wisconsin.



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      20.    On September 22, 2020, case agents executed the search warrant at

1653 S. 57th Street, West Allis, Wisconsin.      During the execution of the search

warrant PEREZ III was located at the residence and taken into custody and later

turned over to the United States Marshal Service.

      21.    During a search of the residence case agents recovered approximately

$135,453 in U.S. Currency, located inside of a lunchbox sized cooler hidden behind

the headboard in the master bedroom. Case agents also located an AR rifle beneath

the bed in the master bedroom. In total case agents recovered four firearms from the

master bedroom of the residence as well as three other firearms elsewhere in the

residence.

      22.    Case agents also located multiple documents which reflected a recent

(September 2020) real estate transaction involving the purchase of a property located

at 2531-2533 W. National Avenue, Milwaukee, Wisconsin. In particular, case agents

reviewed documents from Capital Title & Closing Services regarding title #

2020083258. A review of these documents revealed that on September 1, 2020, Juan

Melendez of Lago Azul Properties, LLC sold 2531-2533 W. National Avenue,

Milwaukee, Wisconsin, to Louis PEREZ III and Francisco HERNANDEZ               BACA

(a/k/a “Gallo”) of Midwest Gallos, LLC. Melendez signed the closing documents as

the seller and PEREZ III and HERNANDEZ BACA signed as the buyers.

      23.    Other documents seized from the residence included a Chase Bank

credit card issued for Ling Ling Nails LLC. 2100 W. Pierce St., Apt. 201, one of the

known stash locations of the PEREZ III DTO and a Chase Bank Business Depository



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Certificate (Limited Liability Company) for a checking account under the business

name Ling Ling Nails LLC with the deposit and withdrawal authorization listing

Louis Rey PEREZ III and Xina Yang.

      24.     Other documents seized from the residence related to HERNANDEZ

BACA included:

            a. A document from JPMorgan Chase Bank dated August 19, 2020,

              through August 31, 2020, for Primary Account 638333275, Chase Total

              Business Checking account and Account 3837639609 for Chase

              Business Total Savings. The name on the account was listed as

              “Carnitas Los Gallos LLC, 1653 S. 57th Street, Milwaukee, WI 53214-

              5106.”

            b. A document from the State of Wisconsin Department of Workforce

              Development dated August 24, 2020, for “Carnitas Los Gallos LLC, 1653

              S. 57th Street, West Allis, WI 53214-5106.”

            c. Two documents from the Wisconsin Department of Revenue addressed

              to “Louis R. Perez III, Carnitas Los Gallos LLC, 1653 S. 57th Steet, West

              Allis, WI 53214.”

            d. A document from the United States Department of Treasury, dated

              August 20, 2020, addressed to “Carnitas Los Gallos LLC, % Louis R.

              Perez III Mbr, 1653 S. 57th Street, Milwaukee, WI 53214-5106.”




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            e. Documents establishing a trust account under the name “13 Investing

               Trust.” Case agents review of the document revealed that the trust was

               established on June 6, 2020, with the trustee listed as “Luis Perez.”

      25.      A query with the Wisconsin Department of Financial Institutions

website on September 22, 2020, revealed the registered agent of Lago Azul Properties,

LLC was Juan Melendez, the previous owner of 2531-2533 W. National Avenue,

Milwaukee, Wisconsin. A query of the same website revealed the registered agent of

Midwest Gallos LLC was Louis R. PEREZ at 1653 S. 57th Street, West Allis,

Wisconsin.

      26.      After Louis PEREZ III was apprehended, he was advised of his

Constitutional Rights which PEREZ III stated he understand and wished to waive.

During In PEREZ III’s Mirandized statement, PEREZ III acknowledged involvement

in the distribution of controlled substances with his family members. When case

agents stated that case agents were aware that PEREZ III owned and / or had access

to numerous properties, PEREZ III stated the case agents already knew about his

properties.

      27.      During interceptions over PEREZ III’s Snapchat account Midwest

Connect, on or about August 19, 2020, case agents intercepted a Snapchat story sent

by PEREZ III. The Snapchat story depicted a Chase bank folder with a business

account check for $10,000 payable to Carnitas Los Gallos LLC dated August 18, 2020.

The Snapchat also depicted a large bundle of U.S. currency as well as a money order

from Pick ‘n Save in the amount of $1,000 payable to Carnitas Los Gallos.



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      28.    A check for the utility subscriber of 2531 W. National Avenue on

September 22, 2020, revealed the current subscriber since 2014 as of September 22,

2020, was Lago Azul Properties LLC, with a listed telephone number of 262-716-1486.

This property was subsequently seized and forfeited in United States v. Louis Perez

III, et al, Case No. 20-CR-185.

      29.    On September 3, 2020, Milwaukee Police Department officers arrested

HERNANDEZ BACA in the 2600 block of West National Avenue after receiving a

man with a gun complaint. HERNANDEZ BACA was observed by officers pointing a

firearm at a moving vehicle which continued driving from the area. HERNANDEZ

BACA was arrested as a felon in possession of a firearm. During a conversation with

a Milwaukee Police Department Sergeant who was familiar with HERNANDEZ

BACA, HERNANDEZ BACA stated that he was in that area because he had recently

purchased the property at 2531 W. National Avenue. HERNANDEZ BACA further

stated that he had purchased half of the business with another individual named

“LOUIS.” HERNANDEZ BACA stated “LOUIS” also owned hair salons named “Ling,”

and that they intended to name the new business at 2531 W. National Avenue “Gallos

Carnitas.”

      30.    On September 22, 2020, case agents contacted Juan Melendez, the

registered agent for Lago Azul Properties. Melendez stated that he had sold the

property to Francisco HERNANDEZ BACA and another male individual in late

August 2020 for $125,000. Case agents asked whether the other male subject who

purchased the property with HERNANDEZ BACA was named Louis PEREZ.



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Melendez stated he believed so and indicated that the other male subject’s name was

on the closing documents as the co-purchaser with HERNANDEZ BACA. Case agents

displayed a photo of PEREZ III to Melendez and Melendez positively PEREZ III as

the co-purchaser of the property with HERNANDEZ BACA.

      31.    Later in the evening on September 22, 2020, United States Magistrate

Judge Stephen Dries, Eastern District of Wisconsin, issued a search warrant for 2531

W. National Avenue, Milwaukee, Wisconsin.

      32.    Case agents executed the search warrant at 2531 W. National Avenue,

Milwaukee, Wisconsin the same evening it was authorized. A subsequent search of

the property revealed the property appeared to be a restaurant that was in the final

stages of opening. The kitchen area contained restaurant equipment used for cooking,

and the basement area contained bulk food items with shelving for storage.

      33.    On September 25, 2020, case agents executed an additional search

warrant at 1653 S. 57th Street, West Allis, Wisconsin related to this investigation.

During the course of this search warrant, agents recovered $7,500 in U.S. currency.

During this search, agents also located a letter from Ahmad and Associates law firm

dated September 25, 2020, which stated that “Mr. Luis Perez” had paid $8,500 in

cash for legal representation fees for “Mr. Francisco.” The letter further stated that

because of a conflict of interest, the law firm would be unable to represent “Mr.

Francisco,” and as a result, the law firm was refunding the remaining $7,500 of the

retainer fee to Mrs. Violeta Gonzalez (the mother of Louis PEREZ III) at the request




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of Luis Perez. Case agents seized this $7,500, and it was subsequently forfeited under

the above-referenced case number.

       34.    During the execution of the search warrant on September 25, 2020, and

shortly after the agents had made entry into the residence, PEREZ III’s sister,

Lissette Perez Mejia arrived at the residence along with other family members. Case

agents spoke with Perez Mejia and explained to her that agents were at the residence

searching for additional evidence, including a gold necklace and “rooster” pendant

that belonged to PEREZ III that had not been located during the search warrant

execution at the residence on September 22, 2020. Perez Mejia initially denied

knowing the location of the necklace and “rooster” pendant; however, after further

discusstion with case agents, Perez Mejia stated that an individual named “Gallo”

came to the residence the night before (September 24, 2020) and picked up the

necklace and “rooster” pendant. 1 Case agents informed Perez Mejia that case agents

were there to seize the necklace and “rooster” pendant. Perez Mejia then stated that

she would call “Gallo” in an efffort to retrieve the necklace and “rooster” pendant. At

this time, Perez Mejia called an individual on her cellphone and spoke in Spanish to

a female she subsequently identified as "Gloria," the girlfriend or wife of “Gallo.” After

the call, Perez Mejia stated Gloria had the necklace at their restaurant and law

enforcement could pick it up there. Case agents asked Perez Mejia for the telephone

number she called, but she refused to provide it to case agents.




1 As discussed infra, case agents are aware that HERNANDEZ BACA is also known as “Gallo.”


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      35.   Case agents proceeded to the restaurant Taqueria Los Gallos, located at

1800 S. 13th Street, Milwaukee, Wisconsin. Case agents know that this restaurant is

owned and operated by HERNANDEZ BACA. HERNANDEZ BACA was not present

at the restaurant, but case agents met with HERNANDEZ BACA’s wife, identified as

Gloria Hernandez. Gloria Hernandez turned over the necklace and “rooster” pendant

to case agents. The necklace and “rooster” pendant were subsequently forfeited by

PEREZ III to the U.S. government under the above-referenced case number.

      36.   As a result of the numerous search warrants executed on September 22

and 25, 2020, case agents seized in excess of 100 cellular telephones from various

defendants, residences, and vehicles associated with the PEREZ III DTO.

      37.   One of these cellular telephones, identified as (213) 259-9593, was seized

from PEREZ III at 1653 S. 57th Street, West Allis, Wisconsin. A forensic analysis of

this telephone by case agents revealed the following information related to

HERNANDEZ BACA:

            a.     Contained in the photos section of the phone was a screen shot

from “inmateseach.mkesheriff.org” depicting a booking photograph and physical

descriptors for Francisco HERNANDEZ BACA, showing a custody date of

“09/04/2020.” The screen shot further stated “Charges pending.”

            b.     Contained in the contacts section of the phone was an entry titled

“Gallo Wife” for both a WhatsApp number and phone number of 414-629-4544. Case

agents subpoenaed information related to this telephone number.         Case agents’

review of information provided as a result of this subpoena revealed that the



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subscriber for this telephone number is listed as Geno Nottolinis Pizza, LLC, 1101 S.

26th Street, Milwaukee, Wisconsin.

             c.    Contained in the “Notes” section of the phone was a note created

on September 4, 2020, that stated “Francisco Hernandez Vaca 02/26/1982.” Based

upon their training, experience and familiarity with the investigation, case agents

believe that this note is in reference to the arrest of HERNANDEZ BACA on

September 3, 2020, and that the name “Vaca” was a typographical error for “Baca” as

the date of birth matches that of HERNANDEZ BACA.

             d.    Contained in the “Notes” section of the phone was a note created

on September 2, 2020, that stated “Owe paint 2k for carnitas shop.” Case agents

believe that this note refers to a PEREZ III $2,000 debt for paint at the 2531 W.

National Avenue, Milwaukee, Wisconsin, restaurant.

             e.    Also contained in the “Notes” section of the phone was a note

created on August 21, 2020, that stated “Los Gallos Extras. 19,4 extras. Just gotta

give gallo 4gs 08/21/20. $25,600 left to buy the house. Total price: 45k.” Case agents

believe that this note refers to an additional $19,400 spent by PEREZ III and

HERNANDEZ BACA related to the opening of the restaurant at 2531 W. National

Avenue. The note additionally refers to a debt of $4,000 that remained outstanding

from PEREZ III to HERNANDEZ BACA $4,000 as of August 21, 2020.

      38.    An additional cellular telephone, identified as (213) 605-4333, was also

seized from PEREZ III at 1653 S. 57th Street, West Allis, Wisconsin. A forensic




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analysis of this telephone by case agents revealed the following information related

to HERNANDEZ BACA:

            a.     Contained in the contacts section of the phone was the name

“Gallo” with a corresponding telephone number of (414) 629-4401 (Target Cell

Phone #1). Also contained in the contacts section of the phone was the name “Gallo

Wife” with a corresponding telephone number of (414) 629-4544.

            b.     Contained in the photos section of the phone was a photograph of

PEREZ III and HERNANDEZ BACA. HERNANDEZ BACA is wearing a baseball cap

with the word “GALLO” depicted on it. Both PEREZ III and HERNANDEZ BACA are

both wearing gold pendants. Based upon a comparison with the seized and forfeited

rooster pendant, the pendant worn by PEREZ III in the photograph appears to be the

same “rooster” pendant that was seized on September 25, 2020, from HERNANDEZ

BACA’s wife.

            c.     Contained in the photos section of the phone was a photograph of

PEREZ III and Xina YANG wearing gold pendants and holding what appear to be

bingo style balls depicting numbers. Again, case agents believe PEREZ III was

wearing what appears to be the same “rooster” pendant that was seized on September

25, 2020, from HERNANDEZ BACA’s wife.

            d.     Contained in the photos section of the phone is a picture of a blank

check from JPMorgan Chase Bank, N.A., depicting the account number and name of

“Carnitas Los Gallos LLC.”




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             e.     Contained in the photos section of the phone are two photographs

of what appear to be five rectangular shaped bricks of suspected cocaine stamped

with the notation “C19.” Based upon the investigation to date, case agents believe

that each brick is a half-kilogram quantity of cocaine. Addditonally, on September

20, 2020, at 4:20 p.m., PEREZ III, using the WhatsApp account tied to telephone

number (213) 605-4333, sent a Whatsapp message to an unknown male named

“Austin.” The message consisted of a picture displaying five rectangular shaped

bricks of suspected cocaine, with “C19” stamped on each one. PEREZ III immediately

followed the picture message with an additional message stating, “half each.” Based

upon the investigation to date, including information from Sources of Information ##

3, 17 and 18, case agents believe that this cocaine was part of the kilogram quantities

of cocaine supplied to PEREZ III by HERNANDEZ BACA in September 2020, and

that the cocaine was packaged in half kilogram quantities.

             f.     Also, contained in the “Notes” section of the phone was a note that

was created on August 19, 2020, titled “Gallo INVESTMENT.” The note stated, “Gallo

INVESTMENT PAID 19k+9500+9500+19k+10k+10k+9600+10k+20k+8400                      Owe-

75k   Total -200k for Carnita Business      45k for House “Paid” 26th street    1k for

closing on 26th street house 08/25/20 3k for cost/closing fees for business 08/25/20.”

Based upon their training, experience and familiarity with the investigation, case

agents believe that PEREZ III created this note to track the cash PEREZ III had

invested in the restaurant “Carnitas Los Gallos,” 2531 W. National Avenue. The

above listed sums paid by PEREZ III add up to $125,000, with a total amount owed



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of $200,000. PEREZ III thus continued to owe $75,000 to HERNANDEZ BACA. Case

agents further believe that the note, “45k for House “Paid” 26th street,” refers to the

residence located at 1107 S. 26th Street, Milwaukee, Wisconsin; one of the residences

that PEREZ III had purchased shortly before PEREZ III was arrested. Case agents

are aware that the PEREZ III DTO utilized this location as a “stash house.” Case

agents further believe that PEREZ III’s note referencing, “3k for cost/closing fees for

business 08/25/20” memorializes an additional $3,000 that PEREZ III paid for the

closing fees to purchase the property located at 2531 W. National Avenue.

      39.    The Internal Revenue Service conducted a financial analysis of the bank

accounts associated with HERNANDEZ BACA and PEREZ III’s JPMorgan Chase

accounts. This analysis revealed that account number 638333275 was opened on

August 19, 2020, under the name “Carnitas Los Gallos LLC,” and listed the account

signatories as Francisco HERNANDEZ BACA and Louis Rey PEREZ III. The

analysis is summarized below.

      40.    On August 19, 2020, the day HERNANDEZ BACA and PEREZ III

opened the account, $29,000 was deposited into the account which consisted of the

following: (a) one $9,500 cash deposit; (b) nine (9) $1,000 money orders from Pick ‘n

Save #407; (c) one (1) $500.00 Money Order from Pick ‘n Save #407; and (d) one (1)

$10,000 check from La Carreta LLC.

      41.    On August 20, 2020, the account received an additional $20,000 cash

deposit. On August 21, 2020, the account received a $38,900 deposit consisting of

the following four cashier’s checks: (a) $9,500 from 13 Investing Trust with the



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memo “Capital Investment;” (b) $9,900 from Victor R Avila; (c) $9,900 from Israel

Relingh Aguirre; and (d) $9,600.00 from Daniel Perez.

       42.     The sum of these three deposits from August 19, 20, and 21, 2020,

totaled $87,900. 2

       43.     On August 25, 2020, a transfer in the amount of $85,372.00 was made

to account number 638951829. HERNANDEZ BACA and PEREZ III are also

signatories for this account. On August 21, 2020, HERNANDEZ BACA and PEREZ

III opened this account under the name Midwest Gallos, LLC.

       44.     The analysis conducted by the IRS also revealed another notable

transaction under account 638333275. On September 22, 2020, the day of PEREZ

III’s arrest related to this investigation and the execution of multiple search

warrants, an $8,000 withdrawal occurred. The bank records did not detail the

withdrawal, so it is unknown if the withdrawal was in cash or a check. On January

29, 2021, account 638333275 was closed.

       45.     On August 21, 2020, account number 638951829 was opened at

JPMorgan Chase Bank under the name “Midwest Gallos LLC,” with account

signatories listed as Francisco HERNANDEZ BACA and Louis Rey PEREZ III. The

analysis is summarized below.

       46.     On August 21, 2020, the day the account was opened, a $39,000 deposit

was made consisting of the following five cashier’s checks: (a) $5,820.00 from

Francisco HERNANDEZ BACA; (b) $5,780.00 from Geno Nottolini’s Pizza


2 Through the investigation, case agents are aware that many of the names associated with the
deposited cashier’s checks are friends and associates of PEREZ III and HERNANDEZ BACA.

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Milwaukee LLC; (c) $9,500.00 from Geno Nottoliini’s Pizza Milwaukee LLC; (d)

$9,500.00 from Francisco HERNANDEZ BACA; and (e) $8,400. 00 from Gloria

Cruz-Gomez.

        47.    On August 25, 2020, $85,372.00 was transferred from account number

638333275. The sum of deposits from August 21 and 25, 2020, amounted to

$124,372.00.

        48.    On September 1, 2020, a cashier’s check was issued to Capital Title for

$123,063.47. Based upon the investigation to date, case agents believe that this

cashier’s check was used to purchase the property located at 2531 W. National

Avenue.

        49.    On September 23, 2020, and September 24, 2020, respectively, two

$50.00 debits occurred. According to the bank records, these debits were for “inmate

phone service.” Because these debits were within forty-eight hours PEREZ III’S

arrest and the arrest of multiple DTO members, agents believe that HERNANDEZ

BACA utilized this account to purchase phone service for PEREZ III and/or others

who were arrested on September 22, 2020, as part of the PEREZ III DTO

investigation. On January 29, 2021, account number 638951829 was closed.

        B.     Confidential Source Information

               1.       Information Obtained from Cooperating Source One (SOI

                       #1) 3


3
   Beginning in late October of 2019, a source of information (SOI #1) made statements against SOI
#1’s penal interest. According to law enforcement databases, SOI #1 has entered guilty pleas to a
felony drug trafficking conspiracy and a money laundering offense. SOI #1 is cooperating in exchange
for consideration in the two previously mentioned offenses. Thus far, the information provided by SOI #1

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        50.     On October 24, 2019, a federal search warrant was executed at 3733 S.

13th Street, Milwaukee, Wisconsin, the residence of SOI #1. During the course of the

search, agents located the following: $12,000 in U.S. currency, a rifle with an

extended magazine, a pistol, thirteen cellular telephones, a money counter, packaging

materials including bags, scales, rubber gloves, and a vacuum sealer, and

approximately 500 grams of cocaine. 4

        51.     Also on October 24, 2019, SOI #1 was arrested in Milwaukee, Wisconsin,

on a federal arrest warrant issued in the Southern District of Ohio, charging SOI #1

with Conspiracy to Possess with Intent to Distribute and to Distribute a Controlled

Substance. Upon arrest, SOI #1 provided information regarding PEREZ III.

        52.     SOI #1 identified a photograph of PEREZ III and stated that SOI #1

knows PEREZ III by face, but doesn’t know his real name. SOI #1 stated that SOI #1

only knows PEREZ III by the nickname of “Grenas.” SOI #1 met PEREZ III

approximately 1 ½ to two years before SOI #1’s arrest. SOI #1 began supplying

kilogram quantities of cocaine to PEREZ III shortly after meeting PEREZ III.

        53.     SOI #1 stated that PEREZ III split his time between Milwaukee and

California, and SOI #1 did not supply drugs to PEREZ III on a regular basis.

According to SOI #1, SOI #1 saw PEREZ III infrequently, and their encounters were

for the sole purpose of conducting drug transactions. SOI #1 stated that PEREZ III


has been corroborated by information known to case agents gathered during the course of this
investigation. According to law enforcement databases, SOI #1 has no criminal record. Within the
context of the information detailed and relied upon for purposes of this affidavit, law enforcement
believes SOI#1 is credible and SOI#1’s information reliable.

4 At the time of the search, this substance field tested positive for fentanyl; however, laboratory testing

revealed that the substance is cocaine.

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was very close with PEREZ III’s family members and did not trust very many people.

SOI #1 stated that SOI #1’s dealings were with only PEREZ III, and PEREZ III never

brought anyone with him when obtaining cocaine from SOI #1. PEREZ III told SOI

#1 that he preferred to conduct drug transactions himself so that PEREZ III could

better control the transaction. SOI #1 did not know any of PEREZ III’s customers.

       54.    SOI #1 stated that PEREZ III brought approximately 800-1,000 pounds

of high-grade marijuana to Milwaukee from California each month for distribution in

the Milwaukee area.       PEREZ III also sold “vape pens” containing THC in the

Milwaukee, area. PEREZ III told SOI #1 that PEREZ III made more money selling

marijuana than cocaine or heroin.

       55.    SOI #1 identified a photograph of PEREZ JR., PEREZ III’s father, and

stated that PEREZ JR. transported marijuana and cocaine from California to

Milwaukee for PEREZ III. SOI #1 further stated that PEREZ III told SOI #1 that

PEREZ JR. was involved in a traffic stop and arrested by the police. PEREZ III was

upset and told SOI #1 that PEREZ III believed that someone “snitched” on PEREZ

III, resulting in PEREZ JR. being stopped by the police. SOI #1 did not know what

PEREZ JR. had in the vehicle, but knew that PEREZ JR. had a pending case as a

result of the traffic stop.

       56.    SOI #1 stated SOI #1 supplied PEREZ III with approximately 10

kilograms of cocaine per week over the last 1 ½ to two years when PEREZ III was in

Milwaukee, and one kilogram of heroin around February or March of 2019. According

to SOI #1, PEREZ III mainly sold kilogram quantities of cocaine and large amounts



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of marijuana.    SOI #1 stated that PEREZ III paid approximately $30,000 for a

kilogram of cocaine and approximately $46,000 for a kilogram of heroin. PEREZ III

always paid SOI #1 in cash. PEREZ III told SOI #1 about obtaining kilograms of

methamphetamine, but SOI #1 had no direct knowledge of PEREZ III selling

methamphetamine.

      57.    SOI #1 stated that PEREZ III maintained an additional kilogram level

cocaine source of supply in California and Milwaukee. PEREZ III told SOI #1 that

even though the kilograms of cocaine cost a little more in Milwaukee than California,

it was sometimes easier and less risky for PEREZ III to obtain the cocaine in

Milwaukee.      SOI #1 did not know how PEREZ III transported the cocaine to

Milwaukee from California since PEREZ JR. was arrested.

      58.    According to SOI #1, a few days before SOI #1 was arrested, PEREZ III

contacted SOI #1 and requested seven kilograms of cocaine, but SOI #1 did not have

any. SOI #1 stated PEREZ III said that he would go to his “other guy,” even though

PEREZ III liked the quality of SOI #1’s cocaine better. SOI #1 described

himself/herself as the “back up supplier.”

      59.    According to SOI #1, PEREZ III told SOI #1 that PEREZ III had two

“stash houses” in Milwaukee, but SOI #1 did not know where those houses were

located.

      60.    SOI #1 further indicated that PEREZ III stated that PEREZ III had a

customer who purchased kilogram quantities of heroin from PEREZ III, but that

PEREZ III didn’t like selling heroin. PEREZ III said that selling heroin was



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“dangerous.” PEREZ III told SOI #1 that PEREZ III’s heroin supplier was in

Milwaukee.

        61.     SOI #1 stated that SOI #1 had a telephone number for PEREZ III in one

or more of SOI #1’s cellular telephones, and that the number would be stored under

the name “Grenas.” SOI #1 frequently changed telephone numbers so SOI #1 could

not say which one of SOI #1’s phones contained the “Grenas’” phone number. SOI #1

recalled mainly texting and calling with PEREZ III and stated that PEREZ III also

frequently changed his telephone numbers.

                2.      Information           Obtained          from       Cooperating            Source

                        Seventeen (SOI #17) 5

        62.     In May of 2022, case agents met with SOI #17. SOI #17 provided the

following information related to HERNANDEZ BACA.

        63.     SOI #17 identified a photograph of Francisco HERNANDEZ BACA and

stated that HERNANDEZ BACA used the street name of “Gallo.” SOI #17 stated that

SOI #17 only contacted HERNANDEZ BACA at one telephone number and identified

that number as cellular telephone number (414) 629-4401 (Target Cell Phone #1).




5 Beginning in May of 2022, SOI #17 made statements against SOI #17’s penal interest. According to law
enforcement databases, SOI #17 has prior felony convictions for a drug trafficking conspiracy and the use
of firearms in furtherance of drug trafficking, and a conviction for possessing a dangerous weapon under
age 18. SOI #17 is cooperating in exchange for consideration in the two previously mentioned felony
convictions. Thus far, the information provided by SOI #17 has been corroborated by information known
to case agents, as well as other law enforcement officials, gathered during the course of the investigation.
More specifically, SOI #17’s information has been corroborated by seizures of physical evidence,
documentary evidence, and lawfully obtained device extractions, physical surveillance, and examination
of other police reports. Within the context of the information detailed and relied upon for purposes of this
affidavit, case agents believe SOI #17 is credible and SOI #17’s information reliable.



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SOI #17 stated that HERNANDEZ BACA did not discuss criminal activity on the

telephone and would only discuss criminal activity in person.

      64.    SOI #17 stated that HERNANDEZ BACA owned a restaurant named

Taqueria Los Gallos on S. 13th Street in Milwaukee. Case agents are aware from this

investigation that the restaurant Taqueria Los Gallos is located at 1800 S. 13th Street,

Milwaukee, Wisconsin, and is owned by HERNANDEZ BACA.

      65.    Towards the end of 2019, HERNANDEZ BACA conducted a raffle at

the restaurant for a gold necklace and “rooster” pendant at HERNANDEZ BACA’s

restaurant. HERNANDEZ BACA was selling “bingo balls” for a certain amount of

money and for each bingo ball purchased, the purchaser would be entered in the

raffle for the necklace and “rooster” pendant. HERNANDEZ BACA had previously

observed SOI #17 with other drug traffickers and SOI #17 and HERNANDEZ

BACA exchanged telephone numbers and began talking regularly.

      66.    Around the beginning of 2020, SOI #17 approached HERNANDEZ

BACA about purchasing a kilogram quantity of cocaine from HERNANDEZ BACA.

SOI #17 told HERNANDEZ BACA that SOI #17 could sell multiple kilograms of

cocaine quickly. HERNANDEZ BACA listened to SOI #17; however, HERNANDEZ

BACA didn’t either quote any prices for kilograms of cocaine or say that

HERNANDEZ BACA could obtain the cocaine for SOI #17. HERNANDEZ BACA

told SOI #17 that HERNANDEZ BACA would contact “his cousin” from Chicago for

SOI #17.




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       67.     Until towards the end of the summer of 2020, SOI #17 didn’t hear

anything more from HERNANDEZ BACA regarding HERNANDEZ BACA

supplying cocaine to SOI #17. At this time, HERNANDEZ BACA contacted SOI #17

and told SOI #17 that HERNANDEZ BACA’s “cousin” was ready to sell two or three

kilograms of cocaine to SOI #17 for approximately $45,000 per kilogram.

       68.     Subsequently, SOI #17 went with HERNANDEZ BACA to Chicago,

Illinois, and SOI #17 and HERNANDEZ BACA met with HERNANDEZ BACA’s

“cousin.” HERNANDEZ BACA’s “cousin” told SOI #17 that he could obtain ten to

fifteen kilograms of cocaine for SOI #17 at the price point of $44,000 per kilogram.

SOI #17 told the cousin that SOI #17 only had money to purchase two or three

kilograms at that time. 6

       69.     SOI #17 provided cash for the two or three kilograms of cocaine to

HERNANDEZ BACA’s “cousin.” SOI #17 and HERNANDEZ BACA drove to a

restaurant in Chicago to wait for the cocaine. A short time later, a driver arrived at

the restaurant with the two or three kilograms of cocaine. The driver drove the

kilograms of cocaine to Milwaukee followed by SOI #17 and HERNANDEZ BACA,

who were in another vehicle.

       70.     Approximately three to seven days later, SOI #17 arranged another

cocaine transaction with HERNANDEZ BACA. SOI #17 stated that this transaction

had been arranged for five kilograms of cocaine at a price point of $39,000 to $40,000

per kilogram. SOI #17 stated that it was not planned for HERNANDEZ BACA to be


6 SOI #17 was unable to recall whether SOI #17 purchased two or three kilograms of cocaine from

HERNANDEZ BACA’s “cousin” during this transaction.

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present for this transaction; however, HERNANDEZ BACA told SOI #17 to drive to

Chicago in HERNANDEZ BACA’s van. SOI #17 and one of SOI #17 associates drove

HERNANDEZ BACA’s van. An additional associate of SOI #17’s drove a different

vehicle in order to transport the cocaine back to Milwaukee for SOI #17. SOI #17

brought approximately $200,000 in U.S. currency with SOI #17 to conduct the

transaction.

       71.     While en route to Chicago, HERNANDEZ BACA contacted SOI #17 via

the WhatsApp phone application and directed SOI #17 to meet HERNANDEZ BACA

in Pleasant Prairie, Wisconsin. SOI #17 complied with HERNANDEZ BACA’s

directive. SOI #17 stated that HERNANDEZ BACA was operating a white Toyota

Camry. 7

       72.     SOI #17 stated that SOI #17 then followed HERNANDEZ BACA to an

exit near the Indiana State Line just outside of the Chicago, Illinois, area. SOI #17

followed HERNANDEZ BACA into an alley where HERNANDEZ BACA met with a

Hispanic male who was operating a black truck. HERNANDEZ BACA then

introduced SOI #17 to the driver of the truck. SOI #17 provided cash to the driver of

the truck, who then told SOI #17 to retrieve a black garbage back from the back of

the truck. SOI #17 retrieved the black garbage bag, which contained six bundles of

cocaine, with each bundle being a half kilogram quantity of cocaine.




7 Case agents observed that in the photos section of SOI #17’s cellular telephone bearing number

cellular number 213-605-4333, case agents located a photograph of HERNANDEZ BACA driving
what appears to be a white Toyota Camry or Avalon, both of which are similar vehicles.

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      73.    SOI #17 placed the six bundles of cocaine into SOI #17’s associate’s

vehicle and the associate drove towards Milwaukee with the cocaine. SOI #17 then

met with HERNANDEZ BACA in HERNANDEZ BACA’s white Camry. Because the

transaction occurred for less than the five kilograms of cocaine that was initially

contemplated, SOI #17 did not provide the full $200,000 to the driver. After SOI #17

entered HERNANDEZ BACA’s vehicle, HERNANDEZ BACA removed $10,000 in

U.S. currency from SOI #17’s backpack, which contained the remaining U.S. currency

that SOI #17 brought to purchase the cocaine. HERNANDEZ BACA indicated that

HERNANDEZ BACA needed the cash for the restaurant. SOI #17 and HERNANDEZ

BACA then drove back to Milwaukee. Once in Milwaukee, SOI #17 and

HERNANDEZ BACA drove to SOI #17’s “stash house” where the cocaine was located.

SOI #17’s associate had been driven the cocaine to the “stash house” for SOI #17.

      74.    SOI #17 stated that SOI #17 had invested $200,000 of SOI #17’s drug

proceeds into the Carnitas Los Gallos restaurant, located at 2531 W. National Avenue

in Milwaukee, Wisconsin. SOI #17 gave large amounts of cash to HERNANDEZ

BACA and HERNANDEZ BACA used the cash to obtain checks to use to purchase

the restaurant. HERNANDEZ BACA did not disclose the names that HERNANDEZ

BACA used on the checks to SOI #17. SOI #17 stated that SOI #17 was the major

financial investor in the Carnitas Los Gallos restaurant. Although it was

HERNANDEZ BACA’s idea to open the restaurant, SOI #17 did not believe that

HERNANDEZ BACA used any of HERNANDEZ BACA’s money to open the




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restaurant. SOI #17 stated that HERNANDEZ BACA wanted to use SOI #17’s money

to open the restaurant in order to launder SOI #17’s drug proceeds.

               2.      Information Obtained from Cooperating Source Eighteen

       (SOI #18) 8

       75.     In June of 2022, case agents met with SOI #18. SOI #18 provided the

following information related to HERNANDEZ BACA.

       76.     SOI #18 stated that PEREZ III began obtaining cocaine from “Gallo” in

2020. SOI #18 was shown a photograph of Francisco HERNANDEZ BACA, and SOI

#18 identified HERNANDEZ BACA as the individual SOI #18 knows as “Gallo.”

       77.     SOI #18 stated that all the cocaine transactions between PEREZ III and

HERNANDEZ BACA occurred in the Chicago, Illinois area. HERNANDEZ BACA

arranged the cocaine transactions for PEREZ III through people that HERNANDEZ

BACA knew. SOI #18 never personally traveled to the Chicago area with PEREZ III

and/or HERNANDEZ BACA, but SOI #18 was aware of the transactions.

       78.     SOI #18 was aware of two separate cocaine transactions that occurred

between PEREZ III and HERNANDEZ BACA. SOI #18 recalled that both




8 Beginning in June of 2022, SOI #18 made statements against SOI # 18’s penal interest. According
to law enforcement databases, SOI #18 has a prior felony conviction for a drug trafficking conspiracy.
SOI #18 is cooperating in exchange for consideration in the previously mentioned felony conviction.
Thus far, the information provided by SOI #18 has been corroborated by information known to case
agents, as well as other law enforcement officials, gathered during the course of the investigation.
More specifically, SOI 18’s information has been corroborated by seizures of physical evidence,
documentary evidence, and lawfully obtained device extractions, physical surveillance, and
examination of other police reports. Within the context of the information detailed and relied upon
for purposes of this affidavit, case agents believe SOI #18 is credible and SOI #18’s information
reliable.


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transactions occurred “a couple of months” before SOI #18 was arrested in September

of 2020.

      79.      SOI #18 stated that HERNANDEZ BACA arranged to sell two kilograms

of cocaine to PEREZ III for approximately $32,000 per kilogram on the first

transaction, and the second transaction was arranged for three kilograms of cocaine.

      80.      On the first transaction, SOI #18 assisted PEREZ III with counting out

the money needed for the kilograms of cocaine. SOI #18 witnessed HERNANDEZ

BACA pick up PEREZ III in the Milwaukee area. Later, SOI #18 witnessed

HERNANDEZ BACA drop off PEREZ III in the Milwaukee area.

      81.      After PEREZ III was dropped off by HERNANDEZ BACA, PEREZ III

drove SOI #18 to a stash house in Milwaukee that PEREZ III utilized at the time. At

the stash house, PEREZ III displayed two kilograms of cocaine to SOI #18.

HERNANDEZ BACA was not present at the stash house when PEREZ III displayed

the kilograms of cocaine to SOI #18. Nevertheless, PEREZ III told SOI #18 that

HERNANDEZ BACA had arranged for PEREZ III to purchase the kilograms of

cocaine.

      82.      Approximately one week later, PEREZ III told SOI #18 that PEREZ III

needed more cocaine and that HERNANDEZ BACA had agreed to obtain the cocaine

for PEREZ III. PEREZ III told SOI #18 that HERNANDEZ BACA couldn’t accompany

PEREZ III to facilitate the cocaine transaction. Consequently, PEREZ III needed one

of PEREZ III’s associates to accompany PEREZ III to the Chicago area to purchase

the cocaine.



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      83.    SOI #18 stated that PEREZ III left for Chicago. PEREZ III later told

SOI #18 that PEREZ III traveled to the same Chicagoland area where PEREZ III had

previously obtained three kilograms of cocaine which had been arranged by

HERNANDEZ BACA.

      84.    Upon returning to Milwaukee, PEREZ III told SOI #18 that PEREZ III

had taken the cocaine to PEREZ III’s stash house in Milwaukee. PEREZ III’s

associate dropped off PEREZ III at SOI #18’s residence, and HERNANDEZ BACA

followed the associate in a different vehicle. PEREZ III and SOI #18 then went to the

stash house where SOI #18 observed three kilograms of cocaine on a table. PEREZ

III and PEREZ III’s associate were talking about the transaction in front of SOI #18.

PEREZ III and PEREZ III’s associate were talking about how “crazy” the three-

kilogram cocaine transaction had been, and how “smooth” the drive back to

Milwaukee had been when the associate was driving with the cocaine. After leaving

the stash house, PEREZ III and SOI #18 then met HERNANDEZ BACA at

HERNANDEZ BACA’s restaurant on South 13th Street to eat.

      85.    SOI #18 was aware that PEREZ III and HERNANDEZ BACA had

started a restaurant business together called “Carnitas Los Gallos.” SOI #18 stated

that HERNANDEZ BACA and PEREZ III had started the restaurant together in

order to “legitimize” PEREZ III’s drug proceeds. SOI #18 believed that most of the

initial financial investment came from PEREZ III to start up the restaurant. SOI #18

had overheard HERNANDEZ BACA say that HERNANDEZ BACA didn’t have

money to invest. SOI #18 believed that HERNANDEZ BACA and PEREZ III were



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going to be “50/50 partners” in the restaurant, and that HERNANDEZ BACA was

going to pay back PEREZ III for HERNANDEZ BACA’s portion of the initial

investment. SOI #18 knew that PEREZ III had invested “a large amount of money”

into the restaurant, but SOI #18 was unaware of the exact amount. SOI #18 stated

that SOI #18 was often not present when PEREZ III and HERNANDEZ BACA were

discussing the specifics of the financial arrangements. However, SOI #18 was aware

that HERNANDEZ BACA needed PEREZ III’s money to start the restaurant, and

that HERNANDEZ BACA was going to supply the cooks and set up the menu.

       86.     SOI #18 knew that HERNANDEZ BACA had given a gold necklace and

“rooster” pendant to PEREZ III. Case agents are aware that this gold necklace and

“rooster” pendant were forfeited to the government in the above-referenced case.

               3.      Information Obtained from Cooperating Source Three

       (SOI #3) 9

       87.     In late 2020, and again in September of 2021, case agents met with SOI

#3. SOI #3 provided the following information related to HERNANDEZ BACA.

       88.     SOI #3 identified a photograph of Francisco HERNANDEZ BACA as the

individual that SOI #3 knows by the street name of “Gallo.”



9 Beginning in November of 2020, SOI #3 made statements against SOI #3’s penal interest. According
to law enforcement data bases, SOI #3 has municipal convictions and prior felony convictions for a
drug trafficking conspiracy and the use of firearms in furtherance of drug trafficking. SOI #3 is
cooperating in exchange for consideration in the two previously mentioned felony convictions. Thus
far, the information provided by SOI #3 has been corroborated by information known to case agents,
as well as other law enforcement officials, gathered during the course of the investigation. More
specifically, SOI #3’s information has been corroborated by seizures of physical evidence, documentary
evidence and lawfully obtained device extractions, physical surveillance, and examination of police
reports. Within the context of the information detailed and relied upon for purposes of this affidavit,
case agents believe SOI #3 is credible and SOI #3’s information reliable.


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      89.    SOI #3 stated in mid-September of 2020, PEREZ III told SOI #3 to get

ready to take a “trip,” which SOI #3 knew was in reference to driving cocaine for

PEREZ III. Shortly after the conversation, PEREZ III contacted SOI #3 and made

arrangements to meet SOI #3 in the Milwaukee, Wisconsin area. At the time, PEREZ

III was operating a white minivan and Esteban Reyes was the passenger. Under the

direction of PEREZ III, SOI #3 followed PEREZ III and Esteban Reyes towards the

Chicago, Illinois area.

      90.    While en route to Chicago, PEREZ III and Reyes stopped at a truck stop

near Pleasant Prairie, Wisconsin, where PEREZ III met with “Gallo” (HERNANDEZ

BACA). SOI #3 recalled that HERNANDEZ BACA was driving a newer white sedan.

SOI #3 followed HERNANDEZ BACA, and PEREZ III and Reyes followed SOI #3

towards the Chicagoland area.

      91.    SOI #3 recalled stopping somewhere near Gary, Indiana, just outside of

Chicago, where SOI #3 followed HERNANDEZ BACA into an alley. Once in the alley,

SOI #3 observed a truck parked next to a garage. Because the truck was not visible

to SOI #3, SOI #3 was unable to recall any of the truck’s details. PEREZ III exited

PEREZ III’s vehicle and PEREZ III entered HERNANDEZ BACA’s vehicle. SOI #3

was aware that PEREZ III had brought a large amount of U.S. currency with him.

PEREZ III and HERNANDEZ BACA drove in the direction of the truck which was

parked in the alley. PEREZ III and HERNANDEZ BACA then parked next to the

truck. SOI #3 “hung back” in the alley and was unable to see with whom PEREZ III

and HERNANDEZ BACA met.



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      92.    A short time later, SOI #3 observed PEREZ III carrying a blanket.

PEREZ III approached SOI #3’s vehicle, and SOI #3 observed that there were three

kilograms of cocaine wrapped in the blanket that PEREZ III was carrying. PEREZ

III placed the blanket containing the three kilograms of cocaine into the trunk of SOI

#3’s vehicle. PEREZ III told SOI #3 that PEREZ III would meet SOI #3 back in

Milwaukee. SOI #3 then began driving and while driving out of the alley, SOI #3

observed HERNANDEZ BACA re-enter HERNANDEZ BACA’s vehicle, and they left

the area.

      93.    SOI #3 drove the three kilograms of cocaine to the stash house in

Milwaukee that PEREZ III was utilizing at the time. PEREZ III later arrived at the

stash house and SOI #3 observed PEREZ III unwrap the three kilograms of cocaine.

SOI #3 obtained a portion of one of the kilograms of cocaine for SOI #3 to sell.

      94.    SOI #3 knew that PEREZ III and HERNANDEZ BACA were “business

partners” and that HERNANDEZ BACA assisted PEREZ III with the laundering of

drug proceeds. SOI #3 did not talk to PEREZ III very much about HERNANDEZ

BACA’s involvement in cocaine. Further, SOI #3 did not know if HERNANDEZ

BACA was previously involved in selling cocaine with PEREZ III prior to this

incident.

      95.    SOI #3 stated that after PEREZ III was arrested, PEREZ III suspected

that HERNANDEZ BACA was “snitching” and that was why PEREZ III and other

members of the PEREZ III DTO were arrested on September 22, 2020.




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               4.      Information Obtained from Cooperating Source Seven

       (SOI #7) 10

       96.     In mid-summer and again in late fall of 2021, case agents met with SOI

#7. SOI #7 provided the following information related to HERNANDEZ BACA.

       97.     SOI #7 stated that PEREZ III began selling kilogram quantities of

cocaine around the age of 16. SOI #7 was aware that numerous individuals supplied

PEREZ III with cocaine. In 2018, SOI #7 sold cocaine obtained from PEREZ III before

SOI #7 was incarcerated.

       98.     During the summer of 2020, SOI #7 stated that due to the COVID 19

pandemic a shortage of cocaine existed.

       99.     SOI #7 was shown a photograph of Francisco HERNANDEZ BACA, and

SOI #7 identified HERNANDEZ BACA as the individual that SOI #7 knows by the

street name of “Gallo.”

       100.    SOI #7 stated that HERNANDEZ BACA owned a restaurant in the area

of South 13th Street and West Maple Street in Milwaukee. SOI #7 was also aware

that PEREZ III and HERNANDEZ BACA were “business partners” in a restaurant



10 Beginning in June of 2021, SOI #7 made statements against SOI #7’s penal interest. According to
law enforcement data bases, SOI #7 has prior felony convictions for a drug trafficking conspiracy and
the use of firearms in furtherance of drug trafficking. SOI #7 is cooperating in exchange for
consideration in the previously mentioned felony convictions. Additionally, SOI #7 has prior felony
convictions for Armed Robbery, Possession of Cocaine, Second Offense, and a misdemeanor conviction
for Possession of Marijuana. Thus far, the information provided by SOI #7 has been
corroborated by information known to case agents, as well as other law enforcement officials,
gathered during the course of the investigation. More specifically, SOI #7’s information has
been corroborated by seizures of physical evidence, documentary evidence, and lawfully
obtained device extractions, physical surveillance, and examination of other police reports.
Within the context of the information detailed and relied upon for purposes of this affidavit,
case agents believe SOI #7 is credible and SOI #7’s information reliable.

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that HERNANDEZ BACA owned with PEREZ III in the area of South 25th Street and

West National Avenue.

      101.   SOI #7 learned about HERNANDEZ BACA’s involvement in cocaine

around the spring of 2020. SOI #7 was driving around Milwaukee in a vehicle with

PEREZ III and Antonio Rodriguez. PEREZ III and Rodriguez were discussing the

cocaine shortage that occurred as a result of the pandemic. During this conversation,

the two further discussed who might have cocaine available for sale. Rodriguez told

PEREZ III that they should “check with Gallo.” PEREZ III told Rodriguez to contact

“Gallo” (HERNANDEZ BACA) and see if “Gallo” could obtain cocaine for them.

      102.   SOI #7 then went to HERNANDEZ BACA’s restaurant on South 13th

Street and West Maple Street with PEREZ III and Rodriguez. Rodriguez met with

HERNANDEZ BACA, and Rodriguez and HERNANDEZ BACA went to the back of

the restaurant to talk. Upon returning to the table where SOI #7 and PEREZ III were

sitting, Rodriguez told PEREZ III that “nothing was going on,” which SOI #7

understood to mean that at the time cocaine was unavailable.

      103.   Sometime around late summer of 2020, PEREZ III told SOI #7 that

HERNANDEZ BACA was “a plug,” which SOI #7 understood to mean that

HERNANDEZ BACA supplied cocaine to PEREZ III.

      104.   Around the same time PEREZ III told SOI #7 that HERNANDEZ BACA

was “a plug,” SOI #7, PEREZ III and HERNANDEZ BACA were driving around

Milwaukee in HERNANDEZ BACA’s truck. PEREZ III and HERNANDEZ BACA

discussed purchasing various properties and discussed purchasing a restaurant



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together. During the conversation, PEREZ III also mentioned purchasing kilograms

of cocaine from HERNANDEZ BACA. HERNANDEZ BACA told PEREZ III to give

HERNANDEZ BACA “some time” because HERNANDEZ BACA needed to “look into

it” for PEREZ III. PEREZ III told HERNANDEZ BACA that PEREZ III was “ready

to work.” In response, HERNANDEZ BACA told PEREZ III that HERNANDEZ

BACA was “here for you guys” and, if possible, HERNANDEZ BACK would help

PEREZ III. PEREZ III told HERNANDEZ BACA that SOI #7 was “a major player”

and would help PEREZ III sell the cocaine.

      105.   HERNANDEZ BACA told PEREZ III that HERNANDEZ BACA would

contact “his people” in Chicago. PEREZ III told HERNANDEZ BACA that PEREZ III

was looking to purchase five kilograms of cocaine to start, but no prices were

discussed. HERNANDEZ BACA told PEREZ III that HERNANDEZ BACA “moved

bricks;” however, HERNANDEZ BACA was “chilling out” during the time that this

conversation occurred.

      106.   Shortly after this conversation took place, PEREZ III told SOI #7 that

PEREZ III was going to obtain kilogram quantities of cocaine soon, and that

HERNANDEZ BACA was going to supply the cocaine to PEREZ III. Because SOI #7

was then arrested, SOI #7 was unaware whether this transaction ever occurred.

      107.   In early August of 2020, PEREZ III told SOI #7 that HERNANDEZ

BACA and PEREZ III were going to be partners in a restaurant. SOI #7 did not know

how much money PEREZ III and/or HERNANDEZ BACA invested in the restaurant

but knew that PEREZ III had purchased the building where the restaurant was going



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to be located. SOI #7 stated that PEREZ III was going launder drug proceeds through

the restaurant.

        108.    SOI #7 stated that HERNANDEZ BACA had given PEREZ III a “rooster

pendant.” Case agents know that the “rooster pendant” referred to by SOI #7 is the

same pendant that was seized from HERNANDEZ BACA’s wife on September 25,

2020. SOI #7 stated that the “rooster” symbolized “being together” as well as being a

trusted friend. SOI #7 further stated that the rooster is used as a symbol of loyalty

and “being solid” for the cartel in Mexico. 11

                5.      Recorded meeting between Cooperating Source Nineteen

                        (SOI #19) 12 and HERNANDEZ BACA on June 8, 2022

        109.    On June 8, 2022, under the direction of case agents, SOI #19 met with

Francisco HERNANDEZ BACA at HERNANDEZ BACA’s restaurant, Taqueria Los

Gallos, 1800 S. 13th Street, Milwaukee, Wisconsin. SOI #19 made arrangements to

meet with HERNANDEZ BACA by contacting HERNANDEZ BACA at (414) 629-



11 The English translation of the Spanish word “gallo” is rooster.


12  SOI #19 is assisting case agents while working under a deferred action approved by Immigration
and Customs Enforcement. Additionally, SOI #19 has received monetary compensation since 2015 for
SOI #19’s work as a Confidential Source (CS), as well as reimbursement for expenses. Further, SOI
#19 expects to be compensated in connection with this investigation. SOI #19 has provided accurate
and reliable information to case agents since 2015. Case agents believe the information provided by
SOI #19 to be truthful and reliable for several reasons: (1) SOI #19 has provided detailed and
corroborated information regarding numerous individuals involved in drug trafficking and drug
trafficking activities, which case agents have been able to verify through independent investigation;
(2) SOI #19, while acting under the control of law enforcement, has been directly involved in controlled
money laundering transactions with known money laundering targets; and (3) SOI #19 has given law
enforcement officers information which directly led to the seizure of controlled substances and other
contraband, and to the arrests and filing of criminal charges against numerous individuals. During
this investigation, SOI #19 received a traffic citation in Wisconsin for operating a vehicle while
intoxicated. SOI #19 has no criminal record.



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4401 (Target Cell Phone #1). This meeting was recorded by case agents and the

following paragraphs summarize the recorded conversation between SOI #19 and

HERNANDEZ BACA that occurred on June 8, 2022. During this meeting, the

conversation occurred in Spanish. Consequently, case agents have relied on the

summary of the conversation provided to case agents through trained linguists at the

Federal Bureau of Investigation (FBI).

      110.   During this meeting, SOI #19 stated that SOI #19 was bringing

kilogram quantities of cocaine from California to Minnesota for distribution. SOI #19

stated that the individual to whom SOI #19 was going to sell the cocaine in Minnesota

had already received cocaine from another supplier. HERNANDEZ BACA told SOI

#19 that nobody had “volume” around here, which case agents believe was in

reference to large amounts of cocaine in the Milwaukee area. SOI #19 asked

HERNANDEZ BACA if anyone else needed that many kilograms of cocaine to which

HERNANDEZ BACA replied, “Chicago.” SOI #19 agreed with HERNANDEZ BACA,

and told HERNANDEZ BACA that there weren’t many, twenty, referring to the

number of kilograms of cocaine that SOI #19 had for sale.

      111.   HERNANDEZ BACA then explained to SOI #19 that the person with

whom HERNANDEZ BACA “was with was busted.” Based upon their familiarity with

the investigation, case agents believe HERNANDEZ BACA told SOI #19 that

HERNANDEZ BACA’s associate who could move kilogram quantities of cocaine was

arrested. SOI #19 asked HERNANDEZ BACA if the individual was “busted” in

Milwaukee, and HERNANDEZ BACA replied affirmatively. HERNANDEZ BACA



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stated that HERNANDEZ BACA and the individual had worked hard and that it was

“five or six.” Based upon their training, experience and familiarity with the

investigation, case agents believe that the “busted” individual to whom

HERNANDEZ BACA referred is PEREZ III, and that HERNANDEZ BACA’s

statement of “five or six” is in reference to the number of kilograms that

HERNANDEZ BACA had arranged for PEREZ III to purchase.

      112.   SOI #19 then told HERNANDEZ BACA that SOI #19 sometimes leaves

drug proceeds with other individuals that SOI #19 knows because SOI #19 didn’t like

transporting money back and forth.

      113.   HERNANDEZ BACA told SOI #19 that HERNANDEZ BACA didn’t

understand, and SOI #19 told HERNANDEZ BACA that SOI #19 would put the

money in the “washing machine,” referring to laundering SOI #19’s drug proceeds.

HERNANDEZ BACA asked SOI #19 how the system of laundering drug proceeds

worked, and SOI #19 stated that, for example, SOI #19 would leave $100,000 or

$200,000 with HERNANDEZ BACA.

      114.   SOI #19 and HERNANDEZ BACA continued to discuss laundering drug

proceeds. SOI #19 told HERNANDEZ BACA that instead of taking the drug proceeds

with SOI #19, SOI #19 “leaves it” (i.e., leaving the drug proceeds in Milwaukee).

HERNANDEZ BACA asked SOI #19 how much HERNANDEZ BACA would receive

for laundering SOI #19’s drug proceeds. SOI #19 replied that HERNANDEZ BACA

would receive ten percent. SOI #19 further related to HERNANDEZ BACA that

HERNANDEZ BACA would receive $10,000 for every $100,000 that HERNANDEZ



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BACA laundered for SOI #19. HERNANDEZ BACA thanked SOI #19 for trusting

HERNANDEZ BACA.

      115.   HERNANDEZ BACA then asked SOI #19 what was “the number” (i.e.,

the price per kilogram of cocaine). SOI #19 replied to HERNANDEZ BACA that the

price of each kilogram would be around $28,000. HERNANDEZ BACA stated that

HERNANDEZ BACA would ask his people in Chicago and get back to SOI #19.

      III.   CONCLUSION

      116.   Case agents searched law enforcement databases to confirm that

Target Cell Phone #1 is currently being serviced by T-Mobile.

      117.   Case agents are requesting this warrant authorizing the disclosure of

data related to Target Cell Phone #1 for 30 days to further investigate

HERNANDEZ BACA’s activities, to identify locations to which HERNANDEZ

BACA is traveling to further his drug distribution network, and to further identify

the nature, scope, and structure of this DTO.

      118.   Based upon my training and experience, I know that individuals

involved in drug trafficking use their cellular telephones to contact other drug

dealers and drug purchasers, and that information relating to their telephones may

show the areas in which they are trafficking drugs and the individuals who they are

contacting to sell or distribute the drugs. Based upon the facts in this affidavit,

there is probable cause to believe that HERNANDEZ BACA is engaged in the

trafficking and distribution of Cocaine and is using Target Cell Phone #1 while

engaged in these crimes. I further submit that probable cause exists to believe that



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obtaining the location information of Target Cell Phone #1 will assist case agents in

determining HERNANDEZ BACA’s customers, co-conspirators, sources of supply,

and help to identify stash houses.

      119.   In my training and experience, I have learned that the Service

Provider is a company that provides cellular communications service to the public. I

also know that providers of cellular communications service have technical

capabilities that allow them to collect and generate information about the locations

of the cellular devices to which they provide service, including cell-site data, also

known as “tower/face information” or “cell tower/sector records.” Cell-site data

identifies the “cell towers” (i.e., antenna towers covering specific geographic areas)

that received a radio signal from the cellular device and, in some cases, the “sector”

(i.e., faces of the towers) to which the device connected. These towers are often a

half-mile or more apart, even in urban areas, and can be 10 or more miles apart in

rural areas. Furthermore, the tower closest to a wireless device does not necessarily

serve every call made to or from that device. Accordingly, cell-site data provides an

approximate general location of the cellular device.

                                     Cell-Site Data

      120.   Based on my training and experience, I know that the Service Provider

can collect cell-site data on a prospective basis about the Target Cell Phone. Based

on my training and experience, I know that for each communication a cellular

device makes, its wireless service provider can typically determine: (1) the date and

time of the communication; (2) the telephone numbers involved, if any; (3) the cell



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tower to which the customer connected at the beginning of the communication; (4)

the cell tower to which the customer was connected at the end of the

communication; and (5) the duration of the communication. I also know that

wireless providers such as the Service Provider typically collect and retain cell-site

data pertaining to cellular devices to which they provide service in their normal

course of business in order to use this information for various business-related

purposes.

      121.   Based on my training and experience, I know that T-Mobile also can

collect per-call measurement data, which T-Mobile also refers to as the “real-time

tool” (“RTT”). RTT data estimates the approximate distance of the cellular device

from a cellular tower based upon the speed with which signals travel between the

device and the tower. This information can be used to estimate an approximate

location range that is more precise than typical cell-site data.

                         E-911 Phase II / GPS Location Data

      122.   I know that some providers of cellular telephone service have technical

capabilities that allow them to collect and generate E-911 Phase II data, also known

as GPS data or latitude-longitude data. E-911 Phase II data provides relatively

precise location information about the cellular telephone itself, either via GPS

tracking technology built into the phone or by triangulating on the device’s signal

using data from several of the provider’s cell towers. As discussed above, cell-site

data identifies the “cell towers” (i.e., antenna towers covering specific geographic

areas) that received a radio signal from the cellular telephone and, in some cases,



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the “sector” (i.e., faces of the towers) to which the telephone connected. These towers

are often a half-mile or more apart, even in urban areas, and can be 10 or more

miles apart in rural areas. Furthermore, the tower closest to a wireless device does

not necessarily serve every call made to or from that device. Accordingly, cell-site

data is typically less precise than E-911 Phase II data. Based on my training and

experience, I know that the Service Provider can collect E-911 Phase II data about

the location of the Target Cell Phone, including by initiating a signal to determine

the location of the Target Cell Phone on the Service Provider’s network or with such

other reference points as may be reasonably available.

                                Subscriber Information

      123.   Based on my training and experience, I know that wireless providers

such as the Service Provider typically collect and retain information about their

subscribers in their normal course of business. This information can include basic

personal information about the subscriber, such as name and address, and the

method(s) of payment (such as credit card account number) provided by the

subscriber to pay for wireless communication service. I also know that wireless

providers such as the Service Provider typically collect and retain information about

their subscribers’ use of the wireless service, such as records about calls or other

communications sent or received by a particular device and other transactional

records, in their normal course of business. In my training and experience, this

information may constitute evidence of the crimes under investigation because the




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information can be used to identify the Target Cell Phone’s user or users and may

assist in the identification of co-conspirators and/or victims.

                            AUTHORIZATION REQUEST

      124.   Based on the foregoing, I request that the Court issue the proposed

warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure

41.

      125.   I further request that the Court direct the Service Provider to disclose

to the government any information described in Section I of Attachment B that is

within its possession, custody, or control.

      126.   I also request that the Court direct the Service Provider to furnish the

government all information, facilities, and technical assistance necessary to

accomplish the collection of the information described in Attachment B

unobtrusively and with a minimum of interference with the Service Provider’s

services, including by initiating a signal to determine the location of the Target Cell

Phone on the Service Provider’s network or with such other reference points as may

be reasonably available, and at such intervals and times directed by the

government. The government shall reasonably compensate the Service Provider for

reasonable expenses incurred in furnishing such facilities or assistance.

      127.   I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of

Criminal Procedure 41(f)(3), that the Court authorize the officer executing the

warrant to delay notice until 180 days after the collection authorized by the warrant

has been completed. There is reasonable cause to believe that providing immediate



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notification of the warrant may have an adverse result, as defined in 18 U.S.C. §

2705. Providing immediate notice to the subscriber or user of the Target Cell Phone

would seriously jeopardize the ongoing investigation, as such a disclosure would

give that person an opportunity to destroy evidence, change patterns of behavior,

notify confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). As

further specified in Attachment B, which is incorporated into the warrant, the

proposed search warrant does not authorize the seizure of any tangible property.

See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the warrant authorizes the

seizure of any wire or electronic communication (as defined in 18 U.S.C. § 2510) or

any stored wire or electronic information, there is reasonable necessity for the

seizure for the reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

         128.   Because the warrant will be served on the Service Provider, who will

then compile the requested records at a time convenient to it, reasonable cause

exists to permit the execution of the requested warrant at any time in the day or

night.




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                                 ATTACHMENT A

                              Property to Be Searched

Records and information associated with the cellular device assigned call number

(414) 629-4401 (referred to herein and in Attachment B as “T
                                                           Target Cell Phone #1”),

with listed subscriber of Geno Nottolinis Pizza, LLC, 1101 S. 26th Street, Milwaukee,

Wisconsin, that is in the custody or control of T-Mobile, (referred to herein and in

Attachment B as the “Provider”), a wireless telephone service provider headquartered

at 4 Sylvan Way, Parsippany, New Jersey 07054.

       1.    Target Cell Phone #1.




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                                   ATTACHMENT B

                            Particular Things to be Seized

I.    Information to be Disclosed by the Provider

      To the extent that the information described in Attachment A is within the

possession, custody, or control of the Provider, including any information that has

been deleted but is still available to the Provider or that has been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), the Provider is required to

disclose to the government the following information pertaining to the Account

listed in Attachment A:

      a.      The following subscriber and historical information about the

              customers or subscribers associated with Target Cell Phone #1 for the

              time period January 1, to the present:

             i.     Names (including subscriber names, user names, and screen

                    names);

            ii.     Addresses (including mailing addresses, residential addresses,

                    business addresses, and e-mail addresses);

           iii.     Local and long-distance telephone connection records;

           iv.      Records of session times and durations, and the temporarily

                    assigned network addresses (such as Internet Protocol (“IP”)

                    addresses) associated with those sessions;




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    v.       Length of service (including start date) and types of service

             utilized;

   vi.       Telephone or instrument numbers (including MAC addresses,

             Electronic Serial Numbers (“ESN”), Mobile Electronic Identity

             Numbers (“MEIN”), Mobile Equipment Identifier (“MEID”);

             Mobile Identification Number (“MIN”), Subscriber Identity

             Modules (“SIM”), Mobile Subscriber Integrated Services Digital

             Network Number (“MSISDN”); International Mobile Subscriber

             Identity Identifiers (“IMSI”), or International Mobile Equipment

             Identities (“IMEI”);

  vii.       Other subscriber numbers or identities (including the

             registration Internet Protocol (“IP”) address); and

  viii.      Means and source of payment for such service (including any

             credit card or bank account number) and billing records; and

   ix.       All records and other information (not including the contents of

             communications) relating to wire and electronic communications

             sent or received by Target Cell Phone #1 for the time period

             January 1, 2020, to the present including:

          a. the date and time of the communication, the method of the

             communication, and the source and destination of the

             communication (such as the source and destination telephone




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                  numbers (call detail records), email addresses, and IP

                  addresses); and

               b. information regarding the cell tower and antenna face (also

                  known as “sectors” through which the communications were sent

                  and received), as well as per-call measurement data (also known

                  as “real-time tool” or “RTT”).

b.      Information associated with each communication to and from Target

        Cell Phone #1 for a period of 30 days from the date of this warrant,

        including:

       i.         Any unique identifiers associated with the cellular device,

                  including ESN, MEIN, MSISDN, IMSI, SIM, or MIN;

      ii.         Source and destination telephone numbers;

     iii.         Date, time, and duration of communication; and

     iv.          All data about the cell towers (i.e., antenna towers covering

                  specific geographic areas) and sectors (i.e., faces of the towers) to

                  which Target Cell Phone #1 will connect at the beginning and

                  end of each communication, as well as per-call measurement

                  data (also known as “real-time tool” or “RTT”).

c.          Information about the location of Target Cell Phone #1 for a period of

        30 days during all times of day and night. “Information about the

        location of the Subject Phone” includes all available E-911 Phase II




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            data, RTT data, GPS data, latitude-longitude data, and other precise

            location information.

           i.     To the extent that the information described in the previous

                  paragraph (hereinafter, “Location Information”) is within the

                  possession, custody, or control of the Provider, the Provider is

                  required to disclose the Location Information to the government.

                  In addition, the Provider must furnish the government all

                  information, facilities, and technical assistance necessary to

                  accomplish the collection of the Location Information

                  unobtrusively and with a minimum of interference with the

                  Provider’s services, including by initiating a signal to determine

                  the location of Target Cell Phone #1 on the Provider’s network or

                  with such other reference points as may be reasonably available,

                  and at such intervals and times directed by the government.

                  The government shall compensate the Provider for reasonable

                  expenses incurred in furnishing such facilities or assistance.

          ii.     This warrant does not authorize the seizure of any tangible

                  property. In approving this warrant, the Court finds reasonable

                  necessity for the seizure of the Location Information. See 18

                  U.S.C. § 3103a(b)(2).

II.   Information to be Seized by the Government




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      All information described above in Section I that constitutes evidence of

violations of Title 21, United States Code, Sections 841(a)(1) and 846; and Title 18,

United States Code, Sections 1956 and 1957, involving Francisco HERNANDEZ

BACA.

      Law enforcement personnel (who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney support staff, agency

personnel assisting the government in this investigation, and outside technical

experts under government control) are authorized to review the records produced by

the Provider in order to locate the things particularly described in this Warrant.




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              CERTIFICATE OF AUTHENTICITY OF DOMESTIC

              RECORDS PURSUANT TO FEDERAL RULES OF

                       EVIDENCE 902(11) AND 902(13)

      I, _________________________________, attest, under penalties of perjury by

the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the

information contained in this certification is true and correct. I am employed by T-

Mobile, and my title is _____________________________. I am qualified to

authenticate the records attached hereto because I am familiar with how the

records were created, managed, stored, and retrieved. I state that the records

attached hereto are true duplicates of the original records in the custody of T-

Mobile. The attached records consist of __________________________.

      I further state that:

      a.     All records attached to this certificate were made at or near the time of

the occurrence of the matter set forth by, or from information transmitted by, a

person with knowledge of those matters, they were kept in the ordinary course of

the regularly conducted business activity of T-Mobile and they were made by T-

Mobile as a regular practice; and

      b.     Such records were generated by T-Mobile’s electronic process or system

that produces an accurate result, to wit:

             1.     The records were copied from electronic device(s), storage

medium(s), or file(s) in the custody of T-Mobile in a manner to ensure that they are

true duplicates of the original records; and




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             2.     The process or system is regularly verified by T-Mobile and at

all times pertinent to the records certified here the process and system functioned

properly and normally.

       I further state that this certification is intended to satisfy Rules 902(11) and

902(13) of the Federal Rules of Evidence.




Date                             Signature




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